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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 21-22440-CIV-WILLIAMS/MCALILEY

   DONALD J. TRUMP, et al.,

                        Plaintiffs,
   v.

   FACEBOOK, INC. and MARK
   ZUCKERBERG,

               Defendants.
   ____________________________/

                                         NOTICE OF APPEARANCE

           Maria J. Beguiristain and W. Dylan Fay of White & Case LLP appear as counsel for

  Defendants Facebook, Inc. and Mark Zuckerberg. The parties are requested to forward copies of

  all pleadings, motions, notices, orders and other documents and correspondence to the e-mail or

  mailing addresses listed below.



  Dated: September 2, 2021                       Respectfully submitted,

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   AMERICAS 108823598
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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that, on September 2, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using the Court’s CM/ECF system and that the foregoing

  document will be served on all counsel of record via transmission of a notice of electronic filing

  generated by the CM/ECF system.


                                                      By: s/ Maria J. Beguiristain
                                                             Maria J. Beguiristain




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